AO 245C      (Rev. 09/11) Amended Judgment in a Criminal Case
              Sheet 1                                                                                                 (NOTE: Identify Changes with Asterisks (*))


                                            UNITED STATES DISTRICT COURT
                               Northern                                  District of  Iowa
        UNITED STATES OF AMERICA                                                   AMENDED JUDGMENT IN A CRIMINAL CASE
                   v.
             DEIAGO DAVIS                                                        Case Number:                   0862 1:15CR00013-001
                                                                                 USM Number:                    13763-029
Date of Original Judgment: September 30, 2015                                    Leslie E. Stokke
(Or Date of Last Amended Judgment)                                               Defendant’s Attorney
Reason for Amendment:
   Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                   Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
   Reduction of Sentence Pursuant to the Motion Filed on                             Modification of Imposed Term of Imprisonment for Extraordinary and
   at Document No.                                                                   Compelling Reasons (18 U.S.C. § 3582(c)(1))
   Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))               Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
   Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                 to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
                                                                                     Direct Motion to District Court Pursuant         28 U.S.C. § 2255 or
                                                                                          18 U.S.C. § 3559(c)(7)
                                                                                     Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
    pleaded guilty to count(s)        1 of the Indictment filed on February 19, 2015
    pleaded nolo contendere to count(s)
    which was accepted by the court.
    was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                             Offense Ended                  Count
18 U.S.C. § 401(3)                  Criminal Contempt of Court                                                     11/18/2014                      1




       The defendant is sentenced as provided in pages 2                     6               of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)

    Count(s)                                                                            is          are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 January 5, 2017
                                                                                 Date of Imposition of Judgment

                                                                                 Signature of Judge
                                                                                 Linda R. Reade
                                                                                 Chief U.S. District Court Judge
                                                                                 Name and Title of Judge
                                                                                  January 5, 2017
                                                                                 Date

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AO 245C     (Rev. 09/11) Amended Judgment in a Criminal Case
             Sheet 2 — Imprisonment                                                                        (NOTE: Identify Changes with Asterisks (*))
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                                                               IMPRISONMENT
     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
     *46 months on Count 1 of the Indictment.




     The court makes the following recommendations to the Bureau of Prisons:
     That the defendant be designated to a Bureau of Prisons facility in close proximity to the defendant’s family which is
     commensurate with the defendant’s security and custody classification needs.

     That the defendant participate in the Bureau of Prisons’ 500-Hour Comprehensive Residential Drug Abuse Treatment
     Program or an alternate substance abuse treatment program.

     That the defendant participate in the Bureau of Prisons’ Residential Sex Offender Management Program.

     *Deleted


     The defendant is remanded to the custody of the United States Marshal.
     The defendant shall surrender to the United States Marshal for this district:
           at                                          a m.           p m.      on                                        .
           as notified by the United States Marshal.

     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           before 2 p.m. on                                              .
           as notified by the United States Marshal.
           as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
I have executed this judgment as follows:




     Defendant delivered on                                                            to

at                                                        with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                         By
                                                                                              DEPUTY UNITED STATES MARSHAL




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AO 245C      (Rev. 09/11) Amended Judgment in a Criminal Case
              Sheet 3 — Supervised Release                                                                (NOTE: Identify Changes with Asterisks (*))
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                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of : *5 years on Count 1 of the Indictment.




          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
 from the custody of the Bureau of Prisons.
            The defendant shall not commit another federal, state, or local crime.
          The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
 controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic
 drug tests thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
 the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
          of a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
          criminal record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm
          the defendant’s compliance with such notification requirement.




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              Sheet 3C — Supervised Release                                                                (NOTE: Identify Changes with Asterisks (*))
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                                          SPECIAL CONDITIONS OF SUPERVISION
The defendant must comply with the following special conditions as ordered by the Court and implemented by the U.S. Probation Office:

  1)   The defendant must participate in and successfully complete a program of testing and treatment for substance abuse.

  2)   The defendant must not use alcohol and is prohibited from entering any establishment that holds itself out to the public to be a bar or
       tavern.

  3)   The defendant must participate in a mental health evaluation and/or treatment program. This may include participation in a sex offender
       treatment program or any such similar program offered in the defendant’s approved district of residence. The defendant must take all
       medications prescribed to the defendant by a licensed psychiatrist or physician.

  4)   The defendant must not have contact with children under the age of 18 (including through letters, communication devices, audio or visual
       devices, visits, electronic mail, the Internet, or any contact through a third party) without the prior written consent of the United States
       Probation Office. The United States Probation Office will work with the defendant and the defendant’s family to set up supervised
       communications and visits with the defendant’s biological and legally adopted children.

  5)   The defendant must not be present at places where minor children under the age of 18 are congregated, such as residences, parks, beaches,
       pools, daycare centers, playgrounds, and schools without the prior written consent of the United States Probation Office.

  6)   The defendant must not have contact during the defendant’s term of supervision with the victim set forth in paragraph 44 of the presentence
       report, in person or by a third party. This includes no direct or indirect contact by telephone, mail, email, or by any other means.

  7)   If not employed at a regular lawful occupation, as deemed appropriate by the United States Probation Office, the defendant must participate
       in employment workshops and report, as directed, to the United States Probation Office to provide verification of daily job search results
       or other employment related activities. In the event the defendant fails to secure employment, participate in the employment workshops,
       or provide verification of daily job search results, the defendant may be required to perform up to 20 hours of community service per week
       until employed.

  8)   The defendant must submit to a search of the defendant’s person, residence, adjacent structures, office or vehicle, conducted by a United
       States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
       violation of a condition of release. Failure to submit to a search may be grounds for revocation. The defendant must warn any other residents
       that the residence or vehicle may be subject to searches pursuant to this condition. This condition may be invoked with or without the
       assistance of law enforcement, including the United States Marshals Service.




 Upon a finding of a violation of supervision, I understand the Court may: (1) revoke supervision; (2) extend the term of supervision;
 and/or (3) modify the condition of supervision.

 These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.




          Defendant                                                                                                  Date




          U.S. Probation Officer/Designated Witness                                                                  Date




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AO 245C    (Rev. 09/11) Amended Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties                                                             (NOTE: Identify Changes with Asterisks (*))
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                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                      Assessment                                         Fine                                Restitution
 TOTALS           $ 100                                                $ 0                                $ 0


     The determination of restitution is deferred until                          . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

     The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
     paid before the United States is paid.

 Name of Payee                                       Total Loss*                     Restitution Ordered                Priority or Percentage




 TOTALS                             $                                        $

      Restitution amount ordered pursuant to plea agreement $
      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
      The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
          the interest requirement is waived for                fine         restitution.

            the interest requirement for the                  fine           restitution is modified as follows:


 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.


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            Sheet 6 — Schedule of Payments                                                                 (NOTE: Identify Changes with Asterisks (*))
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                                                     SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

 A         Lump sum payment of $ 100                           due immediately, balance due
                not later than                                  , or
                in accordance with          C,            D,        E, or          F below; or

 B         Payment to begin immediately (may be combined with               C,         D, or         F below); or

 C         Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
      corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant’s interest in the following property to the United States:


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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